EXHIBIT 10
                                          June 25, 2019
SAPNA S. MEHTA                                                                 EMAIL SMEHTA@FENWICK.COM
                                                                                Direct Dial +1 650-335-7895




VIA EMAIL

Gregory A. Krauss
Davidson Berquist Jackson & Gowdey
8300 Greensboro Drive, Suite 500
McLean, VA 22102

          Re:    Virginia Innovation Sciences, Inc. v. Amazon.com, Inc., No. 4:18-cv-00474

Dear Gregory:

       We write in response to your June 13, 2019 letter regarding Amazon’s document
production. Amazon produced documents in good faith and in accordance with the Court’s
requirements. While Amazon is willing to confer regarding requests for relevant discovery
proportional to the needs of the case, your letter is a form recitation of each of VIS’s document
requests, without any explanation of how the requested information is relevant to the claims and
defenses in this case, and made without consideration of the documents Amazon has already
produced.

        For example, you state that Amazon produced no source code. See Ltr. at 4. That is
incorrect: Amazon made its source code available for inspection three months ago. See Mar. 14,
2019 Ware Ltr. to Jackson. VIS has yet to review any of this code. Before we can meaningfully
confer regarding the document requests raised in your letter, VIS must identify the specific
information, not already in Amazon’s production, that you believe to be relevant and necessary for
this case. Nevertheless, we provide our general response to your letter below.

1.        Operation of the Accused Products

        Amazon produced documents relevant to the operation of the accused products identified
in VIS’s infringement contentions. You complain in your letter that many of these documents are
publicly available. But the fact that Amazon makes documentation about the operation of its
products publicly available to its customers and partners does not make the documents any less
relevant. Moreover, contrary to your assertion, Amazon did not produce duplicate documents to
give the appearance of a more extensive production. Some of these documents are similar because
VIS accuses several versions of the same product line, and the relevant documentation overlaps.
For example, Amazon produced documents showing how to connect an Echo device to a Wi-Fi
network—Amazon provides similar documentation for the various versions of Echo devices that
VIS accuses in this case. In any event, Amazon did not limit its production to public documents.
If you believe there is any relevant information related to the operation of the accused products
June 25, 2019
Page 2


that is not already in Amazon’s production, please identify that information with specificity so we
can consider your request.

        We reviewed the designations of documents produced at AMZ-VIS00005063 through
AMZ-VIS00009841. While not all the documents in this range are public documents, Amazon
agrees to re-designate the publicly available documents produced in that range.

2.     Certain Technical Documents

        Amazon already produced the specific categories of technical documents you identify in
your letter. See Ltr. at 3-4. For example, Amazon produced documents showing signal types
communicated by the accused products, including at least AMZ-VIS00012126-239, and provided
schematics for the accused products, including, but not limited to, AMZ-VIS00000278-283, AMZ-
VIS00006593, AMZ-VIS00006613, AMZ-VIS00012157, AMZ-VIS00012160, AMZ-
VIS00012239, AMZ-VIS00012250-253, AMZ-VIS00012259. And it produced technical
specifications for Fire TV Stick 4K, Fire TV Gen 3, and Fire TV Cube, which are available at least
at AMZ-VIS00011544-48.

        In your letter, you also request additional “engineering drawings or blue prints,” but do not
explain what specific information, relevant to VIS’s claims, you require. If you identify the
specific information—not general types of documents—you believe to be missing in Amazon’s
production to date, we can consider your request and conduct additional searches, if necessary.

3.     Customer Data

        You appear to request information maintained on Amazon servers regarding how
Amazon’s customers “actually use the accused products to monitor and/or control other devices.”
Amazon will not produce information about individual customer activity; such a request is overly
broad and unduly burdensome, seeks information that is not relevant to this litigation, and the
burden of obtaining the information outweighs its probative value. The request also seeks
disclosure of information protected by the privacy rights of non-parties or that may be subject to
confidentiality agreements or protective orders. If you seek non-customer-specific information,
please clarify your request.

4.     Financial Data

        Amazon long ago provided monthly sales and revenue information for the accused
products. Contrary to VIS’s assertion, Amazon also provided COGS information for the accused
products. See, e.g., AMZ-VIS00010996, AMZ-VIS00011011. In your letter, you contend that
VIS requires “context” for that data but it is not clear what that means or why VIS would need any
other information to understand these basic financials. Should it require further explanation of the
financial information Amazon has produced, VIS will have the opportunity to depose Amazon’s
June 25, 2019
Page 3


financial witness or witnesses about the information.

       As for VIS’s additional request for “revenue from content delivered” through Alexa-
enabled devices, Amazon will supplement its response to Interrogatory No. 12 to identify
Amazon’s revenue from in-skill purchases using Alexa. If you believe any other “revenue from
content delivered” is relevant to this case, please identify the information with specificity and
explain the basis for this contention.

       Your request for Amazon’s sales of Alexa-enabled HTC products is irrelevant. Amazon
produced sales information for the Amazon accused products identified by VIS in its infringement
contentions. That is the only basis for any damages VIS can recover from Amazon in this case.

         Finally, VIS broadly requests “documents sufficient to show Amazon’s US market share
for the sales of the voice activated internet products and services” without limitation to the accused
functionalities. This information is overly broad and irrelevant because it is not limited to the
specific technology accused in this case or the technology claimed in the asserted patents. If you
disagree, please explain why such information would be relevant so we can consider your request.

5.     Awareness of the Patents

        VIS’s request for documents is unreasonably cumulative and duplicative of its other
discovery requests. Amazon identified the date of its first awareness of the asserted patents in its
response to VIS’s Interrogatory No. 14. As specified in that response, Amazon became aware of
the patents-in-suit only when VIS served complaints asserting them. Amazon is not aware of any
other documents relevant to this topic, but to the extent such documents exist, they are in VIS’s
possession, custody, or control.

6.     Agreements

        Amazon will produce non-privileged, executed patent license agreements, if any, related
to the accused functionality after complying with notice and confidentiality obligations to third-
parties to the extent that such documents exist in Amazon’s possession, custody, or control and
can be identified upon a reasonable search.

        It is unclear from your letter which “indemnification agreements for intellectual property .
. . concerning any of the [accused] products” VIS contends are relevant. Similarly, as requested,
any “agreements and/or contracts . . . regarding the manufacture or sale of any of the Accused
Instrumentalities or the provision of cloud services in connection with the Accused
Instrumentalities” is overly broad and seeks information not relevant to any issue here. Please
describe the information VIS seeks and the relevance of the information so that we can
meaningfully confer.

7.     Strategic Plans
June 25, 2019
Page 4


        As your letter acknowledged, Amazon did produce strategic product plans and market
information related to the accused products. It is unclear what additional information VIS contends
it needs.

8.     Advice of Counsel

       Amazon will make its disclosures under PR 3-7, if any, by the September 11, 2019
deadline.

        If there are remaining issues you would like to discuss, I am available to meet and confer
this Friday, June 28.

                                             Sincerely,

                                             FENWICK & WEST LLP

                                             s/ Sapna S. Mehta

                                             Sapna S. Mehta
